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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


--------------------------------------------------------------- |
                                                                |
In re                                                           |                     Chapter 11
                                                                |
ENERGY FUTURE HOLDINGS CORP., et al., 1                         |                     Case No. 14-10979 (CSS )
                                                                |
                                     Debtors.                   |                     Jointly Administered
                                                                |
--------------------------------------------------------------- |                      Objection Deadline: August 3, 2016 at 4:00 p.m.


    TWENTY-SECOND MONTHLY FEE STATEMENT FOR COMPENSATION FOR
       SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES OF
       DELOITTE & TOUCHE LLP AS INDEPENDENT AUDITOR TO THE
        DEBTORS AND DEBTORS-IN-POSSESSION FOR THE PERIOD OF
             FEBRUARY 1, 2016 THROUGH FEBRUARY 29, 2016

   Name of Applicant:                                                                    Deloitte & Touche LLP

   Authorized to Provide Professional Services as:                                       Independent Auditor
   Date of Retention:                                                                    Effective Nunc Pro Tunc to April 29,
                                                                                         2014 by Order Entered October 29,
                                                                                         2014
   Period for which Compensation and Reimbursement is Sought:                            February 1, 2016 through February 29,
                                                                                         2016²

   Amount of Compensation Sought as Actual, Reasonable, and                                                         $      1,813,824.50
   Necessary
   Less: 50% Non-Working Travel                                                                                     $          (4,749.00)
   Total Amount of Fees Requested                                                                                   $      1,809,075.50

   80% of Compensation Sought as Actual, Reasonable, and
   Necessary                                                                                                        $      1,447,260.40

   Total Amount of Fees and Expense Reimbursement Sought as
   Actual, Reasonable and Necessary (100%):                                                                         $      1,809,075.50


   This is the Applicant's Twenty-Second Monthly Fee Application.



1 The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the debtors’ service address is 1601

Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these chapter 11 cases, for which joint administration has been
granted on an interim basis, a complete list of the debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the debtors’ claims and noticing agent at
http://www.efhcaseinfo.com.
2 Certain fees and expenses incurred during this period may not be included herein. Deloitte & Touche LLP intends to include these fees and

expenses in future interim fee applications.
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        Pursuant to sections 327, 330, and 331 of title 11 of the United States Code, (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-2

of the Local Bankruptcy Rules of Bankruptcy Court for the District of Delaware (the “Local Bankruptcy

Rules”), the Order Authorizing the Debtors to Retain and Employ Deloitte & Touche LLP as Independent

Auditor Effective Nunc Pro Tunc to the Petition Date (the “Retention Order”) [Docket No. 2617], the

Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals, dated September 16, 2014 [Docket No. 2066] (the “Interim Compensation Order”), and

the Stipulation and Order Appointing a Fee Committee [Docket No.1896] (the “Fee Committee Order”),

Deloitte & Touche LLP (“Deloitte & Touche”), independent auditor for the above-captioned debtors and

debtors in possession (collectively, the “Debtors”), hereby files this monthly fee statement (this “Monthly

Fee Statement”) for compensation in the amount of $1,447,260.40 (80% of $1,809,075.50) for the

reasonable and necessary services rendered to the Debtors from February 1, 2016 through February 29,

2016 (the “Fee Period”) ².

                                   Itemization of Services Rendered

      1.        In support of this Monthly Fee Statement, attached are the following exhibits:

                •       Exhibit A is a schedule of the number of hours expended and fees incurred (on

                an aggregate basis) of the professionals and paraprofessionals that rendered services in

                each project category. In connection with the professional services rendered, by this

                Monthly Fee Statement, Deloitte & Touche seeks payment of 80% of such fees in the

                amount of $1,447,260.40.

                                     Proposed Payment Allocation

      2.        Services rendered by Deloitte & Touche as independent auditor to the Debtors are for

the benefit of all of the Debtors and not rendered for the specific benefit of any one Debtor alone.

However, Deloitte & Touche believes that a reasonable allocation of services as required under

paragraph 2(b) of the Interim Compensation Order would be 20%, 20% and 60% to Energy Future

Intermediate Holdings, EFH Corp., and Texas Competitive Electric Holdings, respectively.




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                                           Representations

      3.         Some fees and expenses incurred during this Fee Period may not be included in this

Monthly Fee Statement. Deloitte & Touche reserves the right to make further application to this Court

for allowance of such fees and expenses not included herein. Subsequent fee applications will be filed in

accordance with the Bankruptcy Code, the Bankruptcy Rules, Local Bankruptcy Rules, the Fee

Committee Order, and the Interim Compensation Order.

                 WHEREFORE, Deloitte & Touche respectfully requests that the Court: (i) grant it

allowance of compensation for professional services rendered to the Debtors during the Fee Period in the

amount of $1,447,260.40, which represents 80% of the total compensation for professional services

rendered during the Fee Period (such total being $1,809,075.50), and (ii) grant such other and further

relief as is just and proper.

DATED: July 12, 2016

                                                         Respectfully submitted,

                                                         DELOITTE & TOUCHE LLP
                                                         By: /s/ Randy Stokx
                                                             Randy Stokx - Partner
                                                             2220 Ross Avenue, Suite 1600
                                                             Dallas, Texas 75201
                                                             Telephone: (214) 840-7173




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